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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION



SHANETTA KIMBER, individually and as
next friend to minor plaintiff D.K.,

                   Plaintiff,

        v.                                          Case No. 1:22-cv-04659

META PLATFORMS, INC.,
FACEBOOK HOLDINGS, LLC,
FACEBOOK OPERATIONS, LLC,
FACEBOOK PAYMENTS, INC.,
FACEBOOK TECHNOLOGIES, LLC,
INSTAGRAM, LLC, AND
SICULUS, INC.,

                   Defendants.



    DEFENDANT META PLATFORMS, INC.’S NOTIFICATION OF AFFILIATES

   Pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule 3.2, Defendant Meta Platforms,

Inc. (“Meta”) discloses the following:

   1. Meta has no parent corporation. Blackrock, Inc., a publicly traded company, owns more

than five percent of Meta’s stock.




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Dated: September 19, 2022

                                         Respectfully submitted,


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                                         Facebook Holdings, LLC, Facebook Operations,
                                         LLC, Facebook Payments, Inc., Facebook
                                         Technologies, LLC, Instagram, LLC, and Siculus,
                                         Inc.




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                                CERTIFICATE OF SERVICE

         I certify that, on September 19, 2022, a true and correct copy of this Notification of

Affiliates was served by ECF on all counsel of record.



                                            /s/ Jacob T. Spencer
                                                Jacob T. Spencer


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